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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                                                      )
    In re:                                                            )     Chapter 11
                                                                      )
    YELLOW CORPORATION, et al., 1                                     )     Case No. 23-11069 (CTG)
                                                                      )
                                   Debtors.                           )     (Jointly Administered)
                                                                      )
                                                                      )     Re: Docket No. 1185

        CERTIFICATION OF NO OBJECTION REGARDING SECOND MONTHLY
      APPLICATION FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES
       OF PACHULSKI STANG ZIEHL & JONES LLP, AS CO-COUNSEL FOR THE
         DEBTORS AND DEBTORS IN POSSESSION, FOR THE PERIOD FROM
               SEPTEMBER 1, 2023 THROUGH SEPTEMBER 30, 2023
                           (NO ORDER REQUIRED)

                      The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the relief requested in the Second Monthly

Application for Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones

LLP, as Co-Counsel for the Debtors and Debtors in Possession, for the Period from September

1, 2023 through September 30, 2023 (the “Application”) [Docket No. 1185] filed on November

20, 2023. The undersigned further certifies that he has caused the Court’s docket in this case to

be reviewed and no answer, objection or other responsive pleading to the relief requested in the

Application appears thereon. Pursuant to the Notice of Second Monthly Application for

Compensation and Reimbursement of Expenses of Pachulski Stang Ziehl & Jones LLP, as Co-

Counsel for the Debtors and Debtors in Possession, for the Period from September 1, 2023



1      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
       place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
       Overland Park, Kansas 66211.




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through September 30, 2023 (the “Notice”), responses to the Application were to be filed and

served no later than December 11, 2023 at 4:00 p.m. prevailing Eastern Time.

                   Pursuant to the Order (I) Establishing Procedures for Interim Compensation and

Reimbursement of Expenses for Retained Professionals and (II) Granting Related Relief, entered

on September 13, 2023 [Docket No. 519] (the “Interim Compensation Order”) the Debtors are

authorized to pay Pachulski Stang Ziehl & Jones LLP $130,401.20 which represents 80% of the

fees ($163,001.50) and $11,959.88, which represents 100% of the expenses requested in the

Application for the period September 1, 2023 through September 30, 2023 upon the filing of this

certificate and without the need for entry of a Court order approving the Application.


Dated: December 12, 2023
Wilmington, Delaware

/s/ Peter J. Keane
Laura Davis Jones (DE Bar No. 2436)               Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)               David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)                  Whitney Fogelberg (admitted pro hac vice)
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                                                  Allyson B. Smith (admitted pro hac vice)
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                                                  Co-Counsel for the Debtors and Debtors in Possession


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